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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



SANDI STONE,                         )
                                     )                 CAUSE NO.: 2:23-cv-01741
                                     )
           Plaintiff,                )
v.                                   )
                                     )                 JUDGE: SARAH S. VANCE
UNIVERSITY OF NEW ORLEANS            )
RESEARCH AND TECHNOLOGY              )                 MAGISTRATE: DONNA PHILLIPS
                                     )                 CURRAULT
FOUNDATION, INC., XYZ INSURANCE COS. )
1-10                                 )
          Defendant.                 )
                                     )

                                             ORDER

       Considering the foregoing Ex Parte Motion to Substitute Counsel,

       IT IS ORDERED that the motion be an hereby is GRANTED. Daniel A. Meyer (La. Bar

#33278), of Slater Slater Schulman, LLP, is enrolled and substituted as counsel for plaintiff, Sandi

Stone, and William Most is withdrawn as counsel for plaintiff.



       New Orleans, Louisiana, this           day of June, 2023.




                                                     UNITED STATES DISTRICT JUDGE
                                                     HONORABLE SARAH S. VANCE




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